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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CONSOLIDATED ACTION
                           CASE NO. 18-CV-62758-DIMITROULEAS


   IN RE: MARJORY STONEMAN DOUGLAS
   HIGH SCHOOL SHOOTING FTCA LITIGATION
                                                       /

                        ORDER ON MOTIONS FOR COMMON BENEFIT
                         FEES AND TO TERMINATE LEAD COUNSEL

          THIS CAUSE comes before the Court upon: (i) the Motion for An Award of Common

   Benefit Fees (ECF No. 418) (the “Fees Motion”) filed by Podhurst Orseck P.A. (“Podhurst”);

   (ii) the Motion to Terminate Podhurst Orseck P.A. as Lead Counsel (ECF No. 421) filed by

   several law firms (“Moving Counsel”); and (iii) the Motion for an Extension of Time to Respond

   to Motion for an Award of Common Benefits Fees (ECF No. 424) (together, the “Motions”).

   The District Judge referred the Motions to the undersigned for appropriate disposition or report

   and recommendation. (ECF No. 419). The Court has considered the Motions and is otherwise

   fully advised in the premises.

          According to recent filings in the consolidated case, although Plaintiffs have agreed to an

   allocation of the global settlement, see (ECF Nos. 429 at 2, 432 at 7), there remain additional

   matters that need to be addressed before a final agreement can be reached, including reducing the

   agreement to writing and finalizing releases, among other things. See (ECF No. 430 at 2).

   Podhurst has also confirmed that “the fee dispute will not delay the Plaintiffs’ receipt of the

   allocated global settlement funds because the Government can set aside only the attorneys’

   portion of the funds to be disbursed when the Court rules on the common benefit fee motion.”

   (ECF No. 432 at 6 n.6). Accordingly, in the interest of judicial economy and to encourage
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   prompt and full resolution of this matter, it is hereby ORDERED AND ADJUDGED that:

          1.      The Motion for An Extension of Time to Respond to Motion for An Award of

   Common Benefits Fees (ECF No. 424) is DENIED AS MOOT. A response to the Fees Motion

   has already been filed at ECF No. 431. To the extent necessary, Podhurst may file a reply to

   ECF No. 431 by January 7, 2022.

          2.      Conversely, Moving Counsel may also file a reply related Podhurst’s response to

   the Motion to Terminate (ECF No. 432) by January 7, 2022.

          3.      The Fees Motion and Motion to Terminate are tentatively scheduled for hearing

   on February 11, 2022 at 10:00 a.m. In advance of the hearing, the parties must meet and confer

   (telephonically or in person) in a good faith effort to resolve the issues in the Motions. By

   February 3, 2022, the parties must file a Joint Status Report (“JSR”) advising the Court of the

   result of their meet and confer and indicating whether the issues in the Motions remain

   unresolved. To the extent that the parties wish to proceed with an evidentiary hearing, the JSR

   must include a list of the anticipated witnesses and exhibits. Lastly, the Court defers ruling on

   the request for discovery and whether the hearing will be evidentiary until the filing of the JSR.

   Upon review of the JSR, the Court will make a final determination whether to proceed with the

   scheduled hearing.

         DONE AND ORDERED in Chambers, at Fort Lauderdale, Florida, on January 4, 2022.


                                                       ____________________________________
                                                       ALICIA O. VALLE
                                                       UNITED STATES MAGISTRATE JUDGE

   cc: U.S. District Judge William P. Dimitrouleas
       Counsel of Record
